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                         Exhibit G
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..             s~o~«~                        COUN~'Y OF LOS ANGELES
         _
             ,~~ * °                         OFFICE OF THE COUNTY COUNSEL
             +             Q +                   648 KENNETH HAHN HALL OF ADMINISTRATION
             ~                     f
              §                   ~                      500 WEST TEMPLE STREET
                 % ~~+uFOaN~~'X                     LOS ANGELES, CALIFORNIA 90012-2713             TELEPHONE
                                                                                                   (213)974-1913
                                                                                                   FACSIMILE
       MARK J. SALADINO
                                                                                                   (213)687-8822
         County Counsel                                     January 15, 2015
                                                                                                   TDD
                                                                                                   (213)633-0901

                       Daniel Nersoyan
                       10290 Nelson Rd.
                       Moorpark, CA 93021

                                       Re:   Claims)Presented:                    November 25,2014
                                             File Number(s):                      XX-XXXXXXX*001

                       Dear Claimant:

                               Notice is hereby given that the claim that you presented to-the
                       County of Los Angeles, Board of Supervisors on November 25,2014, was
                       rejected by operation oflaw on January 9,2015. No further action will be taken
                       on this matter.

                                                               WARNING

                                Subject to certain exceptions, you have only six (6) months from the date
                        this notice was personally delivered or deposited.in the mail to file a court action
                        on this claim. See Government Code Section 945.6.

                               This time limitation applies only to causes of action for which
                        Government Code Sections 900 - 915.4 require you to present a claim. Other
                        causes of action, including those arising under federal law, may have different
                        time limitations.

                                You may seek the advice of an attorney of your choice in connection with
                        this matter. If you desire to consult an attorney, you should do so immediately.

                                                                      Very truly yours,

                                                                      MARK J. SALADINO
                                                                      County   nsel               `~
                                                                      By                                 ~--~°`~
                                                                               NNE N SEN
                                                                     ~'    Principal Deputy County Counsel
                                                                           General Litigation Division
                        JN:ce



                        HOA.1123852.1
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     1                                            PROOF OF SERVICE

     2                                           File No. XX-XXXXXXX*001

     3 ~ STATE OF CALIFORNIA,County of Los Angeles:

     4         Carolyn Edwards states: I am employed in the County of Los Angeles, State of California,
       over the age of eighteen years and not a party to the within action. My business address is 648
     5 Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-
       2713
     6
               That on January       ,2015,I served the attached
     7
                                          NOTICE DENIAL LETTER
     8
               upon Interested Party(ies) by placing ❑D the original ❑ a true copy thereof enclosed in a
     9 sealed envelope addressed D as follows ❑ as stated on the attached service list:

    10                      Daniel Nersoyan
                            10290 Nelson Rd.
    11                      Moorpark, CA 93021

    12              ~       By United States mail. I enclosed the documents in a sealed envelope or package
                            addressed to the persons at the addresses on the attached service -list(specify one):
    13
                   (1) ❑deposited the sealed envelope with the United States Postal Service, with the
    14 ~,                 postage fully prepaid.

    15 ~'          (2) D placed the envelope for collection and mailing,following ordinary business
                         practices. I am readily familiar with this business's practice for collecting and
    16 ',                processing correspondence for mailing. On the same day that correspondence is
                         placed for collection and mailing, it is deposited in the ordinary course of business
    17                   with the United States Postal Service, in a sealed envelope with postage fully
                         prepaid.
    18
                            I am a resident or employed in the county where the mailing occurred. The
    19                      envelope or package was placed in the mail at Los Angeles, California:

    20             I declare under penalty of perjury under the laws ofthe State of California that the
            foregoing is true and correct.
    21
                    Executed on January~,2015, at Los Angeles, California.
    22

    23
                       Carolvn Edwards
    24             (NAME OF DECLARANT)                                (SIG     TURF OF DECLA            NT)

    25

    26

    27

    28


            HOA.1123837.1
